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THE SUBJECT HAV|NG BEEN CONVICTED OF A QUAL|FY|NG OFFENSE IS A SEXUAL
OFFENDER UNDER F.S.S. 943.0435. AS A SEXUAL OFFENDER, HE lS REQU|RED TO
REG|STER W|TH THE STATE OF FLORIDA AND MA|NTA|N AN ACCURATE REG|STRAT|ON OF
HIS PERMANENT AND TEMPORARY ADDRESS |N THE STATE OF FLOR|DA W|TH BOTH THE
FDLE AND THE DHSMV. THE SUBJECT FA|LED TO MA|NTA}N AN ACCURATE ADDRESS W|TH
BOTH.

 

 

THE SUBJECT |S ALSO REQU|RED TO RE- REG|STER W|TH THE STATE OF FLOR|DA DUR|NG
THE MONTH OF MAY AS MANDATED BY THE JESS|CA LUNSFORD ACT UNDER F.S.S.
943.0435 B\~ANNUAL SEX OFFENDER RE-REG|STRAT|ON. AS OF THIS DATE THE SUBJECT
FA|LED TO CON\PLETE THE RE-REG|STRATION PROCESS.

ON 06/15/06, DET. K. LUECK, |D #3890, RESPONDED TO THE SUBJECT'S DOCUMENTED
PLACE OR RES|DENCY AS |ND}CATED ON HlS FLOR|DA lDENTlF|CAT|ON CARD _
-, 2100 NW 98 ST, M|AM|, FL 33147. THE PROPERTY OWNER, VlVlAN W|LL|S,

INFORMED DET LUECK THAT THE SUBJECT HAS NOT LIVED AT Tl~llS ADDRESS S|NCE
SOMET¥ME |N 2000 AND S|GNED A SEXUAL PREDATOR l SEXUAL OFFENDER ADDRESS
VER|F|QAT|ON AFF||')A\/IT FORM

 

0N 10/24/06, THE suBJECT WAS ARRESTED ON A PROBATloN WARRANT <F93033196’“
lSSuED oN 10/28/04. l

ON 11/02/06, l MADE TELEPHONE CONTACT W|TH THE SUBJECT’S PROBAT|ON OFF|CER,
TERRY NELSON-H|CKS, OFF|CE NUMBER: 305~628~6805. SHE STATED BECAUSE IT IS A 1993
CASE, SHE D|D NOT HA\/E THE SUBJECT’S PLEA AGREEMENT OR OTHER DOCUN|ENTS lN
HER FlLES. MS. NELSON~H|CKS STATED THE STATE ATTORNEY'S OFF|CE SHOULD HAVE
THE SUBJECT’S RECORDS |N THE COURT’S F|LES.

ANY ADD|T|ONAL lNVEST|GAT|VE \NFORMATlON WILL BE SUBMITTED ON A

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CASE D!SPOS|T|ON: CLOSED BY ARREST.

APF§ SCHEDULED FOR WEDNESDAY, 11/08/06, AT 1245 P.M., W|TH ASA J. CHIN|ERA.

 

 

 

 

 

 

 

  
  

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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